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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *     CRIMINAL NO. 23-cr-257 (TSC)
                                                *
 DONALD J. TRUMP,                               *
                                                *
                 Defendant.                     *
                                                *

   JOINT NOTICE IN RESPONSE TO COURT’S AUGUST 7, 2023 MINUTE ORDER

       By Minute Order on August 7, 2023, the Court directed the parties to meet and confer and

inform the Court, by joint notice, “of two dates and times on or before August 11, 2023 when both

parties are available for a hearing.” The parties have conferred and hereby provide notice.

       The Government is available at any time on August 9, 10, or 11. The defense represents

the following:

       President Trump will not appear. However, he would like to have both his counsel
       John Lauro and Todd Blanche at the hearing. Todd Blanche is not available on
       Thursday, since he must appear for a court proceeding in the prosecution brought
       against the same defendant, President Trump, by the Special Counsel in SD Florida.
       Mr. Lauro is available on Thursday, with a preference for an afternoon setting.
       However, since we lost Friday as an option, we would respectfully request a setting
       on Monday (after 12:00 p.m.) or Tuesday (all day) to allow for both Mr. Blanche
       and Mr. Lauro to be present.

                                                            Respectfully submitted,

        /s/John G. Lauro                                    JACK SMITH
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